    Case 4:09-cr-00043-SPF
Internal  Revenue Service  Document 75-10 Filed in USDC ND/OK on 06/01/09 Page 1 of 1
                                                              Treasury Department
Area Director                                                                              Internal Revenue Service




Date:    January 26, 2004                                                            Examiner:
                                                                                     Donna Meadors

                                                                                     Telephone Number:
                                                                                     (918)581-7030 x241


                                                                                     Refer Reply To:
                                                                                     1645 S. 101s1 E. Ave, Suite 226
                                                                                     Mail Stop 4131:DM
                                                                                     Tulsa, OK 74128
Lindsey K. Springer
5147 S. Harvard, #116                                                                Date, Place & Time of Examination:
Tulsa, OK 74135                                                                      Wednesday,        February 11, 2004
                                                                                     9:00 a.m.
                                                                                     1645 S. 101 st E. Avenue
                                                                                     Taxpayer Service,       2nd Floor

Dear    Mr. Springer:

We have reviewed certain materials with respect to your tax shelter promotion. Weare considering possible action under
Section 6700 and 7408 ofthe Internal Revenue Code relating to penalties and an injunction action for promoting abusive
tax shelters. In addition, we plan to consider issuing "pre-filing notification" letters to the investors who have invested in
this promotion.

You are requested to meet with the examiner at the above date, time and location. Enclosed is a list of documents, books
and records that you should have available and questions you should be prepared to reply to at that time.

Ifwe conclude that penalties, injunction, and/or "pre-filing notification" action is appropriate, you will be afforded an
opportunity to present any facts or legal arguments that you feel indicate that such action should not be taken.




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                                                                     Donna Meadors
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                                                                     Revenue Agent # 73-2558

Enclosures:
    Form 4564, Information Document Request
    Publication 3498
    Publication 1




                                                                                                           Letter 1844 (9-83)
